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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA

                            Plaintiff,                                 No. 21-cv-3234 (RDM)
                  v.

ALL PETROLEUM-PRODUCT CARGO ONBOARD
THE M/T ARINA WITH INTERNATIONAL
MARITIME ORGANIZATION NUMBER 9189952

                            Defendant In Rem, and


ASPAN PETROKIMYA CO.,

                            Claimant




ASPAN PETROKIMYA CO.’S VERIFIED CLAIM FOR ALL PETROLEUM-PRODUCT
                 CARGO ONBOARD THE M/T ARINA

          Aspan Petrokimya Co. (“Aspan”),1 by and through counsel, submits this verified claim,

pursuant to Rule G of the Supplemental Rules for Admiralty or Maritime Claims and Asset

Forfeiture Actions, and asserts its interest in all petroleum-product cargo onboard the M/T Arina

with International Maritime Organization Number 9189952 (“M/T Arina”). To the extent the

government has sold the defendant property, Aspan seeks the proceeds of that sale plus interest

and damages.

          1. Aspan is a commodities trading company founded and incorporated in the Republic

              of Turkey in 2020.

          2. As discussed below, Aspan holds title to and an interest in the defendant property.



1   Aspan’s full name, in Turkish, is “Aspan Petrokımya Dıs Tıcaret Anonım Sırketı.”


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3. In 2020, Aspan reached an arms-length agreement with Overseas Oil & Gas LLC

   (“Overseas”) for the purchase of crude oil. Overseas is an entity founded and

   incorporated in Oman in 2010.

4. On November 8, 2020, Overseas issued a Commercial Invoice to Aspan for the sale

   of 733,876 barrels of crude oil for USD 30,822,792. That invoice set delivery for the

   port of Sohar in Oman and includes the apostille of Oman’s Ministry of Foreign

   Affairs and the attestation of the Oman Chamber of Commerce and Industry.

5. Aspan’s understanding is that, pursuant to Aspan’s agreement with Overseas, on

   November 14, 2020, 733,876 barrels of crude oil were loaded onto the M/T Arina at

   the port of Sohar in Oman. A bill of lading, dated November 14, 2020, was signed by

   the Master of the M/T Arina. It names Aspan as the consignee of the 733,876 barrels

   of crude oil that were loaded at the port of Sohar in Oman. A Certificate of Origin

   from the Oman Chamber of Commerce & Industry, dated November 15, 2020, names

   Overseas as the exporter and Aspan as the importer of 733,876 barrels of crude oil. It

   includes the apostille of Oman’s Ministry of Foreign Affairs.

6. Aspan’s understanding is that on August 26, 2021, the M/T Arina, still carrying

   Aspan’s crude oil, engaged in a ship-to-ship (STS) transfer of crude oil with another

   vessel, the M/T Nostos with International Maritime Organization Number 9258014

   (“M/T Nostos”). Approximately, 219,476 barrels of the M/T Arina’s crude oil were

   transferred to the M/T Nostos in the Mediterranean Sea. Aspan retained title to both

   the crude oil onboard the M/T Arina and the crude oil onboard the M/T Nostos.

7. On October 16, 2021, Aspan entered into a Sale and Purchase Agreement (SPA) with

   Emirates Petroleum and Logistics Ltd (“Emirates”), for the sale of Aspan’s crude oil



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   onboard both the M/T Arina and the M/T Nostos. Delivery of the crude oil was to be

   via STS transfer. Founded in 2018, Emirates is a Turkish company involved in

   petroleum wholesale.

8. The cargoes onboard the M/T Arina and the M/T Nostos were not transferred to

   Emirates and Emirates did not remit payment to Aspan, however, because the

   managers of those ships were allegedly contacted by the U.S. Department of Justice

   in late October 2021, informing them that warrants had been issued for the seizure of

   their cargoes and directing them to navigate the ships to the United States.

9. On October 30, 2021, Aspan (and three other claimants) filed an urgent ex parte

   application for an injunction in the High Court of Justice of England & Wales against

   the managers of the M/T Arina and the registered owners of the M/T Nostos, seeking

   to enjoin them from navigating the M/T Arina and the M/T Nostos to the United

   States. In its application, Aspan asserted its claim to the crude oil onboard both the

   M/T Arina and the M/T Nostos.

10. On October 30, 2021, the High Court of Justice granted the claimants’ application

   and issued an Order for an Injunction that, inter alia, ordered the managers of the

   M/T Arina to direct the Master and/or crew of the M/T Arina to remain within the

   port limits of Limassol, Cyprus, and ordered the registered owners of the M/T Nostos

   to return the M/T Nostos to the closest safe European port.

11. On November 12, 2021, the High Court of Justice discharged the October 30, 2021

   injunction. Aspan understood that the High Court of Justice discharged the injunction

   with the understanding that Aspan would be given the opportunity to contest the

   forfeiture of its crude oil in U.S. courts. Aspan’s counsel at Stephenson Harwood



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          Middle East LLP subsequently informed the government, in a letter sent to AUSA

          Karen Seifert on November 15, 2021, that Aspan holds legal title to the crude oil

          onboard the M/T Arina and the M/T Nostos and that it intends to contest forfeiture of

          that crude oil.

       12. Aspan’s understanding is that the M/T Arina and the M/T Nostos travelled to the

          United States, that Aspan’s crude oil onboard the M/T Arina and the M/T Nostos

          were then seized by the U.S. government, and that the U.S. government sold the

          crude oil without providing any notice of the sale to Aspan.



Dated: April 6, 2022                               Respectfully submitted,

                                                    /s/ Timothy P. O’Toole
                                                     Timothy P. O’Toole (D.C. Bar No. 469800)
                                                     Michael J. Satin (D.C. Bar No. 480323)
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                                                    Company




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ALL PETROLEUM-PRODUCT CARGO ONBOARD
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                        Defendant In Rem, and


ASPAN PETROKIMYA CO.,

                        Claimant




                                      VERIFICATION

I, Mahdieh Sanchouli, on behalf of Aspan Petrokimya Co. (“Aspan”), verify under penalty of
perjury under the laws of the United States of America that I have authority to act on behalf of
Aspan, and that the foregoing Verified Claim in this matter is true and correct.

Executed this 6th day of April, 2022, in Dubai, UAE.

                                                   _________________________
                                                   Mahdieh Sanchouli




                                                                                         2732788.1
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                                CERTIFICATE OF SERVICE

       I hereby certify that on this 7th day of April, 2022, I caused a true copy of ASPAN

PETROKIMYA CO.’S VERIFIED CLAIM FOR ALL PETROLEUM-PRODUCT

CARGO ONBOARD THE M/T ARINA filed through the ECF system to be served via

electronic mail, upon the following:

       AUSA Karen P. W. Seifert
       AUSA Derek S. Hammond
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                                                   /s/ Timothy P. O’Toole
                                                  Timothy P. O’Toole (D.C. Bar No. 469800)
